Case 3:09-cr-30084-SMY          Document 189 Filed 11/17/10            Page 1 of 1     Page ID
                                          #602



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )     NO.09-CR-30084-WDS
                                             )
MINTAI BEDFORD,                              )
                                             )
              Defendant.                     )


                                           ORDER

STIEHL, District Judge:

       This matter is before the Court on defendant’s pro se motion to be moved to another county

jail (Doc. 131). Since his arrest, the defendant has been held in, and transferred from, several

county jails which are authorized to hold federal detainees and defendants. He is currently

scheduled for sentencing on December 13, 2010, after which time he will be transferred to the

custody of the Bureau of Prisons.

       Upon review of the record, the Court DENIES the defendant’s motion for transfer.

IT IS SO ORDERED

DATE:      17 November, 2010
                                            /s/ WILLIAM D. STIEHL
                                                 DISTRICT JUDGE
